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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE MIDDLE DISTRICT OF GEORGIA
                                  MACON DIVISION

KOSMOE MALCOM, et al.,                      )
                                            )
                       Plaintiffs,          )
                                            )
              v.                            )   CIVIL ACTION NO. 5:20-cv-165 (MTT)
                                            )
GEICO INDEMNITY COMPANY, et al.,            )
                                            )
                                            )
                Defendants.                 )
 __________________                         )


                                         ORDER

       The parties filed a Joint Notice of Filing a Proposed Notice (Doc. 96) and a Joint

Motion to Amend the Proposed Class Notice Plan as to Timing and Representative

Plaintiffs (Doc. 151). The Court finds that there is good cause to approve the Proposed

Notice Plan as amended by the Motion to Amend and that the proposed notice to class

members is the best notice that is practicable under the circumstances, including

individual notice to all members who can be identified through reasonable effort. Fed. R.

Civ. P. 23(c)(2)(B).

       The Court GRANTS the Motion to Amend and APPROVES the email notice

(Doc. 151-1), postcard notice (Doc. 151-2), and detailed notice (Doc. 151-3), and orders

that notice be affected pursuant to the Proposed Notice Plan as amended by the Motion

to Amend.

       SO ORDERED, this 5th day of December, 2022.

                                                S/ Marc T. Treadwell
                                                MARC T. TREADWELL, CHIEF JUDGE
                                                UNITED STATES DISTRICT COURT
